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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                   DIVISION

 LAURA FORSYTH, on behalf
 of herself and on behalf of all others
 similarly situated,

        Plaintiff,

 v.                                            CASE NO.:

 LUCKY’S MARKET GP2, LLC, LUCKY’S
 MARKET OPERATING COMPANY, LLC,
 and LUCKY’S MARKET PARENT
 COMPANY, LLC

       Defendants.
 ____________________________________/

                             CLASS ACTION COMPLAINT
                              (JURY TRIAL DEMANDED)

        Plaintiff, LAURA FORSYTH, on behalf of herself and on behalf of all others

 similarly situated, by and through her undersigned counsel, files this Class Action

 Complaint against Defendants, Lucky’s Market GP2, LLC, Lucky’s Market Operating

 Company, LLC, and Lucky’s Market Parent Company, LLC, (“Defendants”), and alleges

 as follows:

                              NATURE OF THE ACTION

        1.      This is a class action for the recovery by the Plaintiffs, on their own behalf

 and on behalf of approximately 1,000 other similarly situated former employees

 (collectively the “Class”, as defined below), of damages in the amount of 60 days’

 compensation and benefits for each of them by reason of the Defendants’ violation of their
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 rights under the Worker Adjustment and Retraining Notification Act, 29 U.S.C. § 2101 et

 seq. (the “WARN Act”).

         2.       Defendants failed to give the Plaintiff and the other Class members at least

 60 days’ sufficient advance (and adequate) notice of their termination. As a consequence,

 the Plaintiff and the other Class members are entitled under the WARN Act to recover from

 the Defendants their respective compensation and benefits for 60 days, no part of which

 has been paid.

                                       JURISDICTION

         3.       This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §

 1331 and 29 U.S.C. § 2104(a)(5).

         4.       The violation of the WARN Act alleged herein occurred in this District.

         5.       Venue in this Court is proper pursuant to 29 U.S.C. § 2104(a)(5).

                                        THE PARTIES

         6.       On information and belief, at all relevant times, Defendants were a business

 authorized to conduct business in the State of Florida.

         7.       On information and belief, at all relevant times, Defendants maintained an

 office or facility in St. Petersburg, Florida (the “Facility”).

         8.       On information and belief, in or about January 2020, Defendants employed

 approximately 1,000 people across the country.

         9.       Prior to their terminations, the Plaintiff was an employee of Defendants who

 worked for the Defendants.




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        10.     In or around January 24, 2020, the Plaintiff was told her employment with

 Defendant is terminated effective February 12, 2020, due to a mass layoff.

        11.     Thus, the Plaintiff and approximately 1,000 other employees of the

 Defendants who had been working for the Defendants were terminated without cause on

 their part as part of or as the reasonably expected consequence of the terminations that

 occurred on or about January 27, 2020 (collectively, the “Class”).

        12.     The Plaintiff brings this action on her own behalf and, pursuant to rules

 23(a) and (b)(3) of the Federal Rules of Civil Procedure, on behalf of herself and the other

 members of the Class.

                               THE CLAIM FOR RELIEF

        13.     At all relevant times, the Defendants employed 100 or more employees,

 exclusive of part-time employees, i.e., those employees who had worked fewer than 6 of

 the 12 months prior to the date notice was required to be given or who had worked fewer

 than an average of 20 hours per week during the 90 day period prior to the date notice was

 required to be given (the “Part-Time Employees”), or employed 100 or more employees

 who in the aggregate worked at least 4,000 hours per week exclusive of hours of overtime

 within the United States.

        14.     The terminations of the employment of persons who worked at the Facility

 for Defendants resulted in the loss of employment for at least 50 employees excluding Part-

 Time Employees.




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          15.   The terminations of the employment of persons who worked at the Facility

 or as the reasonably foreseeable consequence of those terminations resulted in the loss of

 employment for at least 33% of the Facility’s employees excluding Part-Time Employees.

          16.   The Plaintiff and the other Class members were discharged without cause

 on their part as the reasonably expected consequence of the terminations that occurred.

          17.   The Plaintiff and each of the other Class members experienced an

 employment loss as part of or as the reasonably expected consequence of the mass layoff

 and/or plant closing.

          18.   Prior to the terminations, the Plaintiff and the other Class members did not

 receive written notice at least 60 days in advance of the termination of their employment.

          19.   Additionally, the written notice provide by Defendants on January 24, 2020,

 failed to comply with the WARN Act because it failed to provide sixty days’ notice to

 Plaintiff and the affected employees and failed to commit to full wages and benefits for

 sixty days’ from the date of the notice.

          20.   The Plaintiff and the other Class members constitute a Class within the

 meaning of Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure.

          21.   Each of the other Class members is similarly situated to the Plaintiff with

 respect to his or her rights under the WARN Act.

          22.   Common questions of law and fact are applicable to all members of the

 Class.

          23.   The common questions of law and fact arise from and concern the following

 facts, among others: that all Class members enjoyed the protection of the WARN Act; that



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 all Class members were employees of the Defendants who worked at the Facility; that the

 Defendants terminated the employment of all the members of the Class without cause on

 their part; that the Defendants terminated the employment of the members of the Class

 without giving them at least 60 days’ prior written notice as required by the WARN Act;

 that the Defendants failed to pay the Class members wages and to provide other employee

 benefits for a 60-day period following their respective terminations; and on information

 and belief, the issues raised by an affirmative defenses that may be asserted by the

 Defendants.

        24.       The Plaintiff’s claims are typical of the claims of the other members of the

 Class in that for each of the several acts of Defendants described above, the Plaintiff and

 the other Class members is an injured party with respect to his/her rights under the WARN

 Act.

        25.       The Plaintiff will fairly and adequately protect and represent the interests of

 the Class.

        26.       The Plaintiff has the time and resources to prosecute this action.

        27.       The Plaintiff has retained the undersigned counsel who have had extensive

 experience litigating WARN Act claims, employee rights’ claims and other claims in

 Federal court.

        28.       The Class is so numerous as to render joinder of all members impracticable

 in that there are approximately 1,000 members of the Class.

        29.       The questions of law and fact common to the members of the Class

 predominate over any questions affecting only individual members.



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        30.     A class action is superior to other available methods for the fair and efficient

 adjudication of the controversy.

        31.     No Class member has an interest in individually controlling the prosecution

 of a separate action under the WARN Act.

        32.     No litigation concerning the WARN Act rights of any Class member has

 been commenced.

        33.     Concentrating all the potential litigation concerning the WARN Act rights

 of the Class members in this Court will avoid a multiplicity of suits, will conserve judicial

 resources and the resources of the parties, and is the most efficient means of resolving the

 WARN Act rights of all the Class members.

        34.     On information and belief, the names of all the Class members are contained

 in Defendants’ books and records.

        35.     On information and belief, a recent residence address of each of the Class

 members is contained in Defendants’ books and records.

        36.     On information and belief, the rate of pay and the benefits that were being

 paid or provided by Defendants to each Class member at the time of his or her termination

 are contained in Defendants’ books and records.

        37.     As a result of Defendants’ violation of the WARN Act, each Class member

 is entitled to recover an amount equal to the sum of: (a) his/her respective wages, salaries,

 commissions, bonuses and accrued pay for vacation and personal days for the work days

 in the 60 calendar days prior to their respective terminations and fringe benefits for 60

 calendar days prior to their respective terminations; and (b) his/her medical expenses



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 incurred during the 60-day period following their respective terminations that would have

 been covered and paid under the Defendants’ health insurance plan had that plan provided

 coverage for such period.

        38.     Defendants failed to pay the Plaintiff and the other Class members for the

 Defendants’ violation of the WARN Act in an amount equal to the sum of or any part of

 the sum of (a) their respective wages, salary, commissions, bonuses and accrued pay for

 vacation and personal days for the work days in the 60 calendar days prior to their

 respective terminations and fringe benefits for 60 calendar days prior to their respective

 terminations; and (b) their medical expenses incurred during the 60 calendar days from and

 after the date of his/her termination that would have been covered under the Defendants’

 benefit plans had those plans remained in effect.

        39.     Plaintiff hereby demands a jury trial of all issues that may be so tried.

        WHEREFORE, the Plaintiff demands judgment as follows:

        A.      In favor of the Plaintiff and each other Class member against the Defendants

 equal to the sum of: (a) wages, salary, commissions, bonuses, accrued pay for vacation and

 personal days, for 60 days; (b) pension, 401(k) contributions, health and medical insurance

 and other fringe benefits for 60 days; and (c) medical expenses incurred during the 60 day

 period following their respective terminations that would have been covered and paid under

 the Defendants’ health insurance plans had coverage under that plan continued for such

 period, all determined in accordance with the WARN Act, 29 U.S.C. § 2104 (a)(1)(A).

        B.      Appointment of the Plaintiff as Class Representatives;

        C.      Appointment of the undersigned as Class Counsel;



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        D.      In favor of the Plaintiff for the reasonable attorneys’ fees and the costs and

 disbursements of prosecuting this action, as authorized by the WARN Act, 29 U.S.C. §

 2104 (a)(6).

        E.      Interest allowed by law;

        F.      Such other and further relief as this Court deems just and proper.

        Dated this 2nd day of February 2020.

                                               Respectfully submitted,

                                               /s/Brandon J. Hill
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